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 8                                  UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                       No. 2:13-CR-00330-KJM-3
12                     Plaintiff,
13          v.                                       ORDER
14   JOHN JAMES KASH,
15                     Defendant.
16

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18                  Defendant John James Kash (“defendant” or “Kash”) has moved to suppress

19   physical evidence seized on May 2, 2012 following a traffic stop. Kash also requests an

20   evidentiary hearing. ECF No. 234. The United States opposes the motion. ECF No. 242. The

21   court held a hearing on the matter on October 28, 2015, at which defendant appeared pro se with

22   standby defense counsel Gregory Foster; Christiaan Highsmith and Justin Lee appeared for the

23   United States. At hearing, the court submitted defendant’s motion and directed the United States

24   to lodge a copy of the dashboard camera video footage from the May 2, 2012 traffic stop. See

25   ECF No. 261. The court has carefully reviewed the record and is prepared to allow a short

26   evidentiary hearing at 9:00 a.m. on November 9, 2015, before commencing with other trial

27   proceedings.

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 1                  The decision whether to grant or deny a request for an evidentiary hearing lies in
 2   the reasoned discretion of the court. United States v. Walczak, 783 F.2d 852, 857 (9th Cir. 1986).
 3   An evidentiary hearing on a motion to suppress is ordinarily required “if the moving papers are
 4   sufficiently definite, specific, detailed, and nonconjectural to enable the court to conclude that
 5   contested issues of fact going to the validity of a search are in issue.” Id.
 6                  Here, Kash contends, among other arguments, that the initial traffic stop was an
 7   unlawful seizure under the Fourth Amendment. ECF Nos. 234, 249. Because a traffic stop
 8   implicates the Fourth Amendment, it must be based on a reasonable suspicion that the vehicle’s
 9   occupants have broken the law. United States v. Lopez-Soto, 205 F.3d 1101, 1104 (9th Cir.
10   2000); see also United States v. Arvizu, 534 U.S. 266, 273 (2002). In the Incident Report,
11   Trooper Chamberlin Neff reports that he pulled over Kash’s Ford Fusion because it was
12   following too closely to a gray Jeep. ECF No. 242 at 3-4. Kash asserts that he was not following
13   the Jeep too closely, and that he was actually traveling in front of the Jeep the entire time. ECF
14   No. 249. The dashboard camera video footage does not show the reported traffic violation.
15                  The court will allow a short evidentiary hearing before trial for the limited purpose
16   of allowing Kash to test his theory that the May 2, 2012 traffic stop was not based on a reasonable
17   suspicion of wrongful conduct. The United States is ordered to produce Trooper Neff at the
18   hearing. The court is prepared to allow up to thirty minutes for Kash to cross-examine Trooper
19   Neff. If, after the hearing, the court concludes that Trooper Neff had a reasonable suspicion for
20   suspecting Kash had committed a traffic violation, the court anticipates denying Kash’s Motion to
21   Suppress.
22                  IT IS SO ORDERED.
23   DATED: November 3, 2015.
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25                                                      UNITED STATES DISTRICT JUDGE
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